Case 1:03-cv-01168-.]DT-STA Document 8 Filed 08/02/05 Page 1 of 3 Page|D 3

 

0 0
05 &l' §/
m THE uNITED sTATEs instch count 40@` \
FoR THE WESTERN DisTRicT oF TENNESSEE 0 / 9 p/? `\Q _

EASTERN DivisloN ‘§»i; 151 €-@€
LAFAYETTE MILLER, §
i
Plaimifr, g
t

VS. § No. 03-l168-T/An

o
DONAL CAMPBELL, ET AL., §
l
Defendants. §

 

ORDER OF DISMISSAL

 

Plaintiff Lafayette Miller, Tennessee Department of Correction (“TDOC”) prisoner
number 2995 82, Who Was, at the time he commenced this action, an inmate at the Riverbend
Maximum Security Institution in Nashville, Tennessee, filed apro se complaint pursuant to
42 U.S.C. § 1983 in the United States District Court for the Middle District of Tennessee
on June 12, 2003 in connection With his previous confinement at the Northwest Correctional
Complex (“NWCX”) in Tiptonville, Tennessee. ()n June 12, 2003, District Judge William
J. Haynes, Jr. issued an order assessing the civil filing fee and transferring the case to this
district, where the NWCX is located. The case Was docketed in this district on July 7, 2003.

On Fe'oruary 9, 2004, the Clerk docketed a letter from the plaintiff seeking to
ascertain the status of the case. The Court issued an order on February 9, 2004 denying the

motion as unnecessary On February 17 , 2004, the plaintiff s copy of the order Was returned

Thls document entered on the docket sheet ln com 1iance

with eula se and:or_re (a) FncP on __LQ§_;_____ @

Case 1:03-cv-01168-.]DT-STA Document 8 Filed 08/02/05 Page 2 of 3 Page|D 4

by the post office as undeliverable with a notation that the plaintiff had been released
According to the TDOC website, the plaintiff s sentence expired on February 8, 2004. More
than a year has elapsed since the plaintiffs release, and he has not provided the Clerk with
a forwarding address.

At this time, the Court has no means of ascertaining the plaintiff s whereabouts and,
therefore, cannot ask him whether he intends to continue prosecuting this lawsuit. The most
basic responsibility ofa litigant is to advise the Court ofhis current address In light ofthe
time that has elapsed since the plaintiffs release, and the lack of any communication from
the plaintiff, the Court DISMI_SSES this action without prejudice, pursuant to Fed. R. Civ.
P. 4l(b), for failure to prosecute

M/

rr is so oRDERED this 22 /day OfAugust, 2005.

/r/m!/IA' M

JAM D. TODD
UNI D STATES DISTRICT JUDGE

      
 
 
   
 

   
   

UNITsED`TATEs DISTRICT C URT - wEsNTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case l:03-CV-01168 was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed

 

 

Lafayette Miller
RMSl-NASHVILLE

299582

7475 Cockrill Bend Industrial Rd.
Nashville, TN 37209--104

Honorable .l ames Todd
US DISTRICT COURT

